Filed 10/05/22                               Case 22-22056                          Doc 37



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       3                          UNITED STATES BANKRUPTCY COURT

       4                          EASTERN DISTRICT OF CALIFORNIA

       5

       6   In re:                                     Case No. 22-22056-A-7
                                                      FEC-2
       7   DAVID MICHAL

       8
                           Debtor.
       9

      10

      11                             ORDER CONTINUING STATUS CONFERENCE

      12

      13         IT IS ORDERED that the Status Conference currently scheduled for

      14   October 31, 2022 is continued to November 7, 2022, at 9:00 a.m. before

      15   Chief Judge Fredrick E. Clement in the United States Courthouse, 501 I

      16   Street, Courtroom 28, Seventh Floor, Sacramento, California.

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      18            October 05, 2022

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                              Instructions to Clerk of Court
      2                             Service List - Not Part of Order/Judgment
      3    The Clerk of Court is instructed to send the Order/Judgment or other court generated
      4    document transmitted herewith to the parties below. The Clerk of Court will send the document
           via the BNC or, if checked ____, via the U.S. mail.
      5

      6    David R. Michael                              Charles L. Hastings
           263 Ironwood Lane                             PMB 270, 4719 Quail Lakes Dr., Ste. G
      7
           Redding, CA 96003                             Stockton, CA 95207
      8    David and Marjorie Walker                     Sarah Halevy
           22 N Dansby Dr.                               c/o Robert Deutsch
      9    Galveston, TX 77551                           1 Page Ave #200
                                                         Asheville, NC 28801
     10
           Bankruptcy Trustee (if appointed in the case) Office of the U.S. Trustee
     11                                                  Robert T. Matsui United States Courthouse
                                                         501 I Street, Room 7-500
     12                                                  Sacramento, CA 95814
     13
           All Creditors and Parties in interest

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